      5:17-bk-10839 Doc#: 112-2 Filed: 12/12/22 Entered: 12/12/22 14:57:38 Page 1 of 1

Form orecert1
                                     UNITED STATES BANKRUPTCY COURT

                                               Eastern District of Arkansas


In Re:      Pamela McIlwain
            Debtor
                                                                                     Case No.: 5:17−bk−10839
                                                                                     Chapter: 13


                         ORDER REGARDING CERTIFICATION IN CHAPTER 13 CASES


The chapter 13 trustee's "Certificate of Final Payment" has been filed in your case.

NOTICE IS HEREBY GIVEN that the debtor must file the document denoted at the bottom of this order or the case
may be closed without a discharge. The document must be filed within thirty (30) days from the date of the entry of
this order. No hearing will be held unless requested. If a response to this order is filed, the court will set the matter for
hearing by subsequent notice.

Any motion for extension of time to file the document or objection to the case closing shall be filed (and served on
the trustee) on or before the date the identified document is due.


                                   Due within 30 days from the entry of this order:


1. Certificate Regarding Domestic Support Obligation pursuant to 11 U.S.C. §1328
**Certificates completed and filed prior to the trustee's "Certificate of Final Payment" will not be considered.**



Dated: 12/12/22

                                               UNITED STATES BANKRUPTCY JUDGE
